
94 N.Y.2d 791 (1999)
RICHARD J. McALLAN et al., Appellants,
v.
Luis R. MARCOS et al., Respondents.
Court of Appeals of the State of New York.
Submitted October 15, 1999.
Decided October 21, 1999.
Appeal, insofar as taken by Richard J. McAllan on behalf of Miriam Arnold, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that McAllan is not the authorized legal representative of Arnold; appeal, insofar as taken by Richard J. McAllan on his own behalf, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
